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EXHIBITS
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Message

From: Steven Albertson Mi @ gmail.com]
Sent: 10/4/2016 5:42:29 AM

To: Jordan Labiosaljjiij@labiosa.com]

Subject: Re: Local Commonwealth's Attorneys

Is it possible your friend is one of the accidentals (i.e. those who are citizens but who had trouble with the
forms)? It's looking like that's 10-15% of what we have, and many of those have been reinstated. Not looking
to take action against those folks, of course.

On Oct 4, 2016, at 12:19 AM, Jordan Labiosa <j @labiosa.com> wrote:

Steve

After looking at the Roanoke list, I should probably remove myself from this project. I was friends with one of
the individuals on the list, and have pictures on my Facebook with the individual, and believe he has
participated in previous elections. I'm sure Dan could get you the CA information.

Thanks

On Tue, Oct 4, 2016 at 12:08 AM, Steven Albertson

Anyone have a good line on the Commonwealth’s Attorney in Bedford or Roanoke? We’re looking for people (or other
means) to positively influence these prosecutors to take action against documented cases of non-citizens voting. We’ve
already got some folks lined up for a few other localities, and are looking for help with these additional counties.

KO gmail.com> wrote:

Attached you will find a list of non-citizens who were discovered to be on each county’s voter rolls and removed when
determined to be non-citizens over the last few years. If consistent with data we are finding in other counties, half or
more of these people may have actually voted in a recent election, despite not being U.S. citizens.

If they were removed from the rolls after November 2014, there is a good chance the also participated in an election
where producing a photo ID was required. (Remember, most non-citizens qualify for a VA driver’s license when they first
come here on a valid visa).

Then, either when renewing their driver’s licenses or being summoned for jury duty, they admit on an official form that
they’re not U.S. citizens. That information finds its way to the registrar, who then purges them from the rolls. BUT
NOTHING ELSE HAPPENS ....no prosecution, no nothing.

Given the way these non-citizen voters are found, we can surmise that the problem is much more widespread than what is
seen in the attached list, which is a product of a sampling of just 20 Virginia localities by the Public Interest Legal
Foundation. PILF is focused on taking action in federal court. I’m helping to see to it that action is taken in Virginia
courts, by our sworn prosecutors.

When matched with voter data, the attached information will give prima facie proof to the Commonwealth Attomey that a
felony has been committed, particularly when to vote that person would have been required to show a photo ID. In the
past, CAs have been reluctant to do anything with this kind of information because it’s hard to get a

conviction. Especially now, with photo ID, that hurdle is considerably smaller. Considering how widespread the problem
is, and how the numbers of non-citizens is more than enough to swing a close election, CAs must act NOW to protect our
democracy.

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We’re trying to coordinate at least a few jurisdictions around the state to have local GOP committee chairs and other
leaders make formal referrals to the relevant CAs, accompanied by coordinated press releases and potentially a statewide
press conference. If this produces even just a handful of high profile prosecutions (much less convictions or plea
bargains), it will be a significant deterrent to non-citizens who have been able to pretend with impunity to be citizens,
while effectively disenfranchising actual qualified voters. It also gives cover for our legislators—and legislators across
the country—when they try to enact common sense election integrity measures, but are constantly being told those
measures are racist solutions in search of a problem that doesn’t exist.

Please let me know if you’re able and willing to help.
Regards,

Steve

C. Jordan Labiosa
New Castle Town Council

Labiosa.com

"It does not require a majority to prevail, but rather an irate, tireless
minority keen to set brush fires in people's minds." Samuel Adams

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